Case 2:11-cr-00315-CCC   Document 17   Filed 06/06/11   Page 1 of 1 PageID: 74



                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY
                        MINUTES OF PROCEEDINGS


NEWARK                                     DATE: June 6, 2011

JUDGE: William H. Walls

COURT REPORTER: Yvonne Davion

DEPUTY CLERK: Loretta Minott

Title of Case:                                Docket 11-315(WHW)

U.S.A.   v. MITCHELL KURLANDER & ALAN ABESHAUS

Appearances:
Eric Kanefsky - AUSA
William Destefano, Esq., for Mitchell Kurlander
Kevin Marino, Esq., for Alan Abeshaus

Nature of proceedings: Arraignment on Indictment

Defendants waive reading of Indictment.
Plea:   Not Guilty to all counts of Indictment by defendants.

ORDER for Discovery & Inspection filed.
Defts. motions to be filed by: July 6, 2011
Gov’t response by: August 6, 2011
Oral Argument (if necessary): August 15, 2011
Trial date set for: August 16, 2011



Time commenced 9:40 a.m.
Time Adjourned 9:45 a.m.


                                       Loretta Minott
                                        Deputy Clerk
